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                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

ORION EDDLEMON, individually and     )
on behalf of all others similarly situated,
                                     )
                                     )
                        Plaintiff,   )                   Case No. 1:20-cv-01264-MMM-JEH
                                     )
        v.                           )                   Hon. Michael M. Mihm
                                     )                   Hon. Mag. Jonathan E. Hawley
BRADLEY UNIVERSITY, an Illinois not- )
for-profit corporation,              )
                                     )
                        Defendant.   )

              NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO CLASS CERTIFICATION

        Defendant, Bradley University (the “University”), pursuant to this Court’s May 25, 2023

Minute Entry, respectfully requests this Court take notice of supplemental authority in support of

the University’s Opposition to Class Certification [Doc. 48]. In support, the University states:

                                          INTRODUCTION

        This case is set for a class certification hearing on July 27, 2023, at which this Court will

undertake a rigorous analysis of Plaintiff’s Motion for Class Certification [Doc. 41], with specific

attention to the issues identified by the Seventh Circuit for further scrutiny. See Eddlemon v.

Bradley Univ., 65 F.4th 335 (7th Cir. 2023). This Court asked counsel for Plaintiff Orion

Eddlemon (“Plaintiff”) at a status conference on May 25, 2023, whether Plaintiff wished to amend

his previous briefs and submissions on class certification in light of the Seventh Circuit’s ruling.

Plaintiff’s counsel declined, stating that Plaintiff would proceed on the existing briefs.1 At the




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 The existing briefs are comprised of: (1) Plaintiff’s Motion for Class Certification [Doc. 41] (the “Class
Cert. Motion”); (2) the University’s Opposition to Class Certification [Doc. 48] (the “Class Cert. Opp.”);
and (3) Plaintiff’s Reply in Support of Class Certification [Doc. 53] (the “Class Cert. Reply”).
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University’s request, however, the Court directed in its May 25, 2023 Minute Entry that the parties

“file supplemental briefs highlighting recent case law on the issue of class certification[.]”

         Numerous relevant cases have considered and rejected class certification on the same or

similar theories to those at issue here since this Court’s prior ruling on class certification on July

22, 2022 [Doc. 64]. These cases address, among other issues: the evidentiary burden required to

certify a class of students similar to the Tuition and Activity Fee Classes that Plaintiff seeks to

certify in this case; the degree of common evidence necessary to assert classwide injury on behalf

of a class of students; the rejection of Plaintiff’s position that the closure of a campus automatically

establishes classwide injury; and the absence of viable classwide damages models to calculate the

same types of damages Plaintiff claims in this case. The University requests that the Court take

notice of these cases to aid its rigorous analysis at the July 27th class certification hearing.

                                SUPPLEMENTAL AUTHORITY

    I.      Six Ohio Court of Appeals Decisions Have Rejected Certification of Tuition and
            Fee Classes, Including the Reversal of One of Plaintiff’s Key Authorities

         Plaintiff previously relied heavily on the class certification ruling of the Ohio Court of

Claims in Cross v. University of Toledo, calling it “the only known COVID-19 college tuition and

fee refund case alleging breach of contract and unjust enrichment claims that has issued a final

order for a contested motion for class certification[.]” Doc. 41 at 6. Since then, the Ohio Court of

Appeals has reversed Cross and five other lower court decisions certifying similar classes. Its

decisions in these cases are persuasive and directly applicable to this Court’s analysis.

            A. Cross v. University of Toledo

         The Ohio Court of Appeals reversed the Court of Claims’ certification order in Cross v.

University of Toledo. 199 N.E.3d 699 (Ohio Ct. App. 2022), attached as Ex. 1. The court held that

commonality was not satisfied where the only “common” contention identified was whether the

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class was entitled to remediation for tuition and fees based on the university’s actions. Id. at 711.

This contention is inadequate to satisfy commonality because it “merely identifies an element

common to all litigation: whether the plaintiff is entitled to a remedy.” Id. Similarly, predominance

cannot be satisfied without assessing the individual questions and related evidence compared to

the purportedly common ones. Id. at 712. In addition, the court held that “a proposed class action

requiring the court to determine individualized fact of damages does not meet the predominance

standards of Rule 23(b)(3).” Id. at 712 (citations omitted) (emphasis in original). Because these

standards had not been adhered to, the appellate court reversed class certification. Id. at 715.

            B. Duke v. Ohio University

        In Duke v. Ohio University, the Ohio Court of Appeals reversed a lower court’s order

granting class certification for a similar class of students after the trial court ignored the

university’s argument that the student “could not rely on the complaint allegations or a theory put

forward but rather had to have an evidentiary burden at the class action certification stage.” 204

N.E.3d 752, 758 (Ohio Ct. App. 2022), attached as Ex. 2. The court also found that the trial court

had improperly analyzed the plaintiffs’ classwide damages models by accepting the plaintiff’s

allegations. Id. The appellate court confirmed that, at the class certification stage, “a court should

not review a motion for class certification under a pleading standard or grant the motion for simply

raising a colorable claim[;]” instead, the plaintiff must meet their evidentiary burden of proof by a

preponderance of the evidence. Id. at 764 (citations omitted). To this end, the court noted:

        Moreover, perhaps the most basic requirement to bringing a lawsuit is that the
        plaintiff suffer some injury. . . . Although plaintiffs at the class-certification stage
        need not demonstrate through common evidence the precise amount of damages
        incurred by each class member, they must adduce common evidence that shows all
        class members suffered some injury. If the class plaintiff fails to establish that all
        of the class members were damaged . . ., there is no showing of predominance
        under Civ. R. 23(b)(3).


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Id. at 764-65 (internal quotations and citations omitted) (emphasis added). Finding that the trial

court erroneously “assumed an economic injury occurred based on the fact of closure of campus

and the switch to online classes without considering whether [the plaintiff] presented sufficient

evidence[,]” the appellate court held that the trial court abused its discretion. Id. at 765. The

appellate court likewise held that the trial court’s decision to avoid difficult contested merits issues

in assessing class certification was an abuse of discretion. Id.

            C. Smith v. Ohio State University

        In Smith v. Ohio State University, the Ohio Court of Appeals found the lower court had

abused its discretion by certifying a class whose members allegedly did not receive the benefit of

their bargain because the court did not adequately assess whether common evidence supported a

classwide injury. 200 N.E.3d 1249, 1261 (Ohio Ct. App. 2022), attached as Ex. 3. Similar to Duke,

the Smith trial court improperly “treated the fact of closure of the campus and the cessation of in-

person classes as dispositive to establishing an injury on behalf of [the named plaintiff] and the

class.” Id. at 1263-64. The appellate court noted that the trial court could not avoid difficult

contested merits issues in order to expedite the class certification stage. Id. at 1264-65. In addition,

the appellate court held that a class certification decision for different claims, i.e., breach of

contract and unjust enrichment, could not be assessed under the “same generalized injury analysis

without providing any individualized consideration of those issues.” Id. at 1265 (citation omitted).

            D. Weiman v. Miami University

        In Weiman v. Miami University, the Ohio Court of Appeals reversed the certification of a

class of “[a]ll undergraduate students enrolled in classes . . . during the Spring 2020 semester who

paid the Instructional Fee and/or the Non-Resident Surcharge, and who were not given a full refund

of those fees[.]” No. 22AP-36, 22AP-37, 2022 WL 17348853, *1 (Ohio Ct. App. Dec. 1, 2022),


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attached as Ex. 4. Because the plaintiffs’ proposed damages model “raise[d] significant questions

with respect to the commonality and predominance requirements for class certification,” the

appellate court reversed the class certification order. Id. at *4-5. In particular, the court found it

unclear from the methodology whether all putative class members had even been injured, which

was sufficient to reverse class certification. Id.

            E. Waitt v. Kent State University

        Assessing a class defined similarly to the Weiman class, the Ohio Court of Appeals in Waitt

v. Kent State University also reversed class certification. No. 22AP-167, 2022 WL 17986762, *2

(Ohio Ct. App. Dec. 29, 2022), attached as Ex. 5. Because the matter of classwide damages had

not been resolved at the class certification stage, and instead had been “relegated” to “future merits

ruling[s],” the class certification order was not appropriate. Id. at *7. The court also held that a

class cannot proceed on a faulty damages model. Id. at *7-8.

            F. Keba v. Bowling Green State University

        In Keba v. Bowling Green State University, the Ohio Court of Appeals once more reversed

certification of a similar student class. No. 22AP-226, 2022 WL 1781150, *5-6 (Ohio Ct. App.

Dec. 20, 2022), attached as Ex. 6. The court reiterated that a plaintiff seeking class certification

“must establish that issues subject to generalized proof and applicable to the class as a whole

predominate over those issues that are subject to only individualized proof.” Id. at *5 (internal

citations and quotations omitted). To that end, a damages theory that relies on individualized proof

does not meet the burden for class certification under the commonality or predominance

requirements. Id. at *5-6.




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    II.      Federal Court Cases

          Multiple federal courts have also weighed in since this Court’s prior ruling and have

determined that class certification of student refund classes is inappropriate.

             A. Evans v. Brigham Young University (Tenth Circuit)

          In opposing class certification, the University cited Evans v. Brigham Young University,

No. 1:20-CV-100-TS, 2022 U.S. Dist. LEXIS 36190 (D. Utah Feb. 28, 2022), in which the district

court denied class certification because resolving the student-plaintiff’s claims would require

assessing each individual student’s circumstances, including each source of payment for each

student’s tuition. See Class Cert. Opp. at 12, 14, 21. The Tenth Circuit recently affirmed this

decision in Evans v. Brigham Young Univ., No. 22-4050, 2023 WL 3262012 (10th Cir. May 5,

2023), attached as Ex. 7. There, as here, the defendant university noted that students receive tuition

payments “from a variety of sources,” including “family members, individual students, loans,

grants, and scholarships,” and because records reflecting these payment sources were lacking in

the record, class certification was inappropriate. Id. at *2. There, as here, the plaintiff argued that

the payment sources were irrelevant, because “[t]he students were the obligors of the payment of

tuition and fees.” Id. The district court denied class certification because plaintiff had not met his

burden of demonstrating “who paid tuition to attend in-person classes.” Id. at *3 (citation omitted).

The Tenth Circuit agreed that the class could not be certified because it required the court to

“identify[] all third-party payment sources for tuition[,]” and there are “no records to answer this

question.” Id. at *6. Because the court would have to “individually inquire” into all student class

members “to determine who paid tuition—the student or a third party,” it was not possible to

determine class membership without unmanageable individualized inquiries. Id.




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            B. Garcia de Leon v. New York University (Southern District of New York)

        In Garcia de Leon v. New York University, the Southern District of New York denied

plaintiff’s motion to certify a similar class of students because she failed to meet the Rule 23

prerequisites. No. 21-Civ-05005, 2022 WL 2237452 (S.D.N.Y. Jun. 22, 2022), attached as Ex. 8.

The court found plaintiff failed to meet her burden of demonstrating that all class members suffered

the same injury and were “uniformly impacted,” because the evidence presented did not support

this conclusion. Id. at *11. There was evidence, for example, that the plaintiff had not previously

attempted to utilize the services for which she claimed she should be refunded—much like Plaintiff

in this case opted not to participate in remote activities. Id. The court also noted that a defense

specific to the plaintiff’s ability to recover the fees she sought—such as Plaintiff’s reliance on his

individual course syllabi to establish the terms of his contract with the University in this case—

precluded class certification as well. Id. at *12 (noting plaintiff’s failure to return items funded by

fee received called into question her entitlement to a refund of that fee), *13 (noting issues if

plaintiff cannot establish she suffered an injury).

        In addition, the fact that the university continued to provide certain services that the

plaintiff claims to have not received raised another important individualized issue defeating

commonality and typicality because there was no evidence in the record that any other students

failed to receive these same services. Id. at *13 (“[I]n order to establish that others suffered the

same injury, we would have to undertake a searching inquiry into what each of approximately

55,000 students did or did not do during the first months of the pandemic[.]”). Notably, the court

determined that the plaintiff’s claims would turn on individual contract language that precludes




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class certification. Id. at *18 (citations omitted). For these reasons, the court denied class

certification.2

            C. In re Suffolk University COVID Refund Litigation (District of Massachusetts)

        The District of Massachusetts denied a similarly defined student class in In re Suffolk

University COVID Refund Litigation. No. 20-10985-WGY, 2022 WL 6819485 (D. Mass. Oct. 11,

2022), attached as Ex. 10. Noting that Rule 23 “impose[s]” the “requirement” of drawing all

reasonable inferences in the plaintiff’s favor, the court nevertheless determined that a class action

was not the superior method of trying these claims. Id. at *3. Because the plaintiff’s “likelihood of

proving damages [was] vanishingly small,” and the case turned on students’ individual

experiences—much as Plaintiff in this case testified that each class member’s damages should turn

on their individual class experiences and individual activities—class certification was impractical.

Id. The court found various other possibilities that may ensue if class certification were denied

would ultimately be more “‘efficient’ in terms of the aggregate costs imposed on these litigants”

as compared to proceeding with the case as a class action. Id. at *4.

            D. Omori v. Brandeis University (District of Massachusetts)

        Lastly, in Omori v. Brandeis University, the student-plaintiffs sought refunds of tuition and

fees based on the university’s alleged breach of implied contract for transitioning to remote

instruction during the Spring 2020 semester. No. 20-11021-NMG, 2023 WL 3511341, *1 (D.

Mass. May 16, 2023), attached as Ex. 11. Noting that the plaintiffs’ damages models were critical

to determining whether the class could be certified, the Omori court considered the individual

issues that would permeate those models. Id. at *4, *6 (noting “it is apparent that separate


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  Although it did not formally reach the class certification issue, the Second Circuit also recently criticized
the viability of a refund class at New York University when assessing a similar case at the motion to dismiss
stage. See Rynasko v. New York Univ., 63 F.4th 186, 205 n. 2 (2d Cir. 2023) (noting certification would be
“implausible” due to commonality and predominance issues), attached as Ex. 9.
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calculations would be necessary to determine which individuals sustained any damage at all”). The

court also criticized the plaintiffs’ “generic commitment to determining individual damages at a

future point” because, although they acknowledged they would account for scholarships and

individual payments received by students at some point later in the case, they had applied their

model to a named plaintiff by excluding that very information—as did Plaintiff in this case. Id. at

*6.

        The court further rejected the plaintiffs’ attempt to rely on rulings that implied a viable

damages model may exist at the motion to dismiss stage. Id. at *6 (citations omitted) (“Although

that principle is consistent with this Court’s prior decisions, it does not suggest a finding that

plaintiffs’ proposed damages model and classwide theories are suitable for certification here.”).

Because the plaintiffs had put forth faulty damages models that could not be applied on a classwide

basis, the court determined that certification “would not be a more fair and efficient method of

adjudicating this controversy.” Id. at *7.



Dated: June 16, 2023                                  Respectfully submitted,

                                                      BRADLEY UNIVERSITY


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                                CERTIFICATE OF SERVICE

       I, Kara E. Angeletti, certify that on June 16, 2023, a true and correct copy of the Notice of
Supplemental Authority in Support of Defendant’s Opposition to Class Certification was
served electronically through the Central District of Illinois CM/ECF electronic filing on all
counsel of record.



                                                      /s/ Kara E. Angeletti
                                                      One of Defendant’s Attorneys




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